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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 Crystallex International Corporation,

                         Plaintiff,

          v.                                              No. 1:17-mc-00151-LPS

 Bolivarian Republic of Venezuela,

                         Defendant.


      JUDGMENT CREDITORS VALORES MUNDIALES, S.L. AND CONSORCIO
 ANDINO, S.L.’S OPENING SUBMISSION RELATING TO THE ISSUES IDENTIFIED
            IN THE COURT’S MAY 10, 2023 MEMORANDUM ORDER

        In response to the Court’s invitation to address any or all of the three issues outlined in the

Court’s Memorandum Order, see Crystallex International Corp. v. Bolivarian Republic of

Venezuela, No. 1:17-mc-00151-LPS (May 10, 2023) D.I. 559, ¶ 3 (“Memorandum Order”),

Judgment Creditors Valores Mundiales, S.L. and Consorcio Andino, S.L. (collectively, “Judgment

Creditors”) submit this opening submission requesting that their soon-to-be registered judgment

against the Bolivarian Republic of Venezuela (“Venezuela”) be classified as an “Additional

Judgment” under the Crystallex Sales Procedure Order. See Crystallex International Corp. v.

Bolivarian Republic of Venezuela, No. 1:17-mc-00151-LPS (Oct. 11, 2022) D.I. 481 (“Sale

Procedures Order”).

        As stated in the Sale Procedures Order, the Court has authority to decide which additional

judgments will be considered by the Special Master for purposes of the sale of the shares of PDV

Holding, Inc. (“PDVH”) to satisfy the debts of Venezuela. Id., ¶ 30. The Sale Procedures Order




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provides that such judgments against Venezuela will be classified as “Additional Judgments” and

will be “considered by the Special Master” in light of the upcoming sale of PDVH’s shares. Id.

        Judgment Creditors intend to register their judgment against Venezuela with the Court, in

the amount of USD $ 618,629,303.79, as soon as possible. Judgment Creditors’ judgment was

issued by the District Court for the District of Columbia on May 22, 2023, and entered by the clerk

of that court today, May 24, 2023. Judgment Creditors are filing today a motion before the District

of Columbia District Court requesting leave to register the judgment in other districts. Under 28

U.S.C. § 1963, a judgment may be registered in any other district “when the judgment has become

final by appeal or expiration of the time for appeal or when ordered by the court that entered the

judgment for good cause shown.” 28 U.S.C. § 1963. Although the timeline for appeal will expire

on June 21, 2023, Judgment Creditors believe there is good cause for the District of Columbia

District Court to grant leave to register the judgment before this Court. In light of this Court’s

authority and deadline associated with the Sales Procedure Order, Judgment Creditors request that

their judgment be classified as an “Additional Judgment” while the registration is pending.

Judgment Creditors do not intend to disrupt the Sales Process and only request that their judgment

be included as a judgment to be satisfied. Judgment Creditors are entitled to payment from

Venezuela on its delinquent debt obligations, Judgment Creditors will soon register their judgment

with this Court, and they have been seeking appropriate relief since their initial award was issued

in July 2017.

        Judgment Creditors have been award creditors of Venezuela for more than six years, and

Venezuela’s debt has been due and outstanding for the same period. See Valores Mundiales S.L.

et al v. Bolivarian Republic of Venezuela, No. 1:19-cv-00046-ACR-RMM, Memorandum Opinion

(May 15, 2023) (Dkt. 42), p. 5.       Judgment Creditors filed an enforcement action seeking

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recognition of their ICSID award over four years ago, in January 2019, before the United States

District Court for the District of Columbia. See Valores Mundiales S.L. et al v. Bolivarian Republic

of Venezuela, No. 1:19-cv-00046-ACR-RMM. Following Venezuela’s default early in the case

and a stay of proceedings to allow for the resolution of Venezuela’s meritless annulment bid,

Judgment Creditors obtained a final judgment this week, on May 22, 2023, which was entered by

the clerk of the court today, May 24, 2023. See Valores Mundiales S.L. et al v. Bolivarian Republic

of Venezuela, No. 1:19-cv-00046-ACR-RMM, Order and Final Judgment (May 22, 2023) (Dkt.

44, 45) (attached hereto as Exhibit A). This judgment (Dkt. 45) should be properly classified as

an “Additional Judgment” for consideration by the Special Master. Nothing in the Sale Procedures

Order mandates or contemplates any additional requirements before a judgment can be considered

an “Additional Judgment,” and nothing in the recently issued license from OFAC requires any

further finding by the Court. See Mem. Order, Crystallex International Corp. v. Bolivarian

Republic of Venezuela, No. 1:17-mc-00151-LPS (May 4, 2023) D.I. 555.


 Dated: May 24, 2023                                  McCARTER & ENGLISH, LLP

                                                      /s/ Andrew S. Dupre
 Of Counsel:                                          Andrew S. Dupre (#4621)
                                                      Sarah E. Delia (#5833)
                                                      Renaissance Centre
 COVINGTON & BURLING LLP
                                                      405 N. King Street, 8th Floor
 Miguel López Forastier
                                                      Wilmington, DE 19801
 One City Center
                                                      Tel: (302) 984-6300
 850 Tenth Street, N.W.
                                                      adupre@mccarter.com
 Washington, D.C. 20001
                                                      sdelia@mccarter.com
 Tel: 202-662-5185
                                                      Attorneys for Judgment Creditors
                                                      Valores Mundiales, S.L. and
                                                      Consorcio Andino, S.L.




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